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  Stipulation and Consent Order Resolving Cotton Commercial Claim Page 1 of 6



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                                 UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEW JERSEY


    In re:                                                         Chapter 11

    FRANK T HEATRES BAYONNE/SOUT H                                 Case No. 18-34808 (SLM)
    COVE, LLC, et al.,1, 2

                               Debtors.                            Jointly Administered


              STIPULATION AND CONSENT ORDER RESOLVING CLAIM NO. 57
                      FILED BY COTTON COMMERCIAL USA, INC.

             T he relief set forth on the following pages, numbered two (2) through six (6), is hereby

ORDERED.




1
   Prior to the Effective Date (as defined herein) of the Modified Plan (as defined herein), the Debtors in these Chapter 11 cases
(the “ Chapter 11 Cases”) and the last four digits of each Debtor’s taxpayer identification number were as follows: Frank T heatres
Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank Management LLC (0186); Frank Theatres,
LLC (5542); Frank All Star T heatres, LLC (0420); Frank T heatres Blacksburg LLC (2964); Frank T heatres Delray, LLC (7655);
Frank T heatres Kingsport LLC (5083); Frank T heatres Montgomeryville, LLC (0692); Frank T heatres Parkside T own Commons
LLC (9724); Frank T heatres Rio, LLC (1591); Frank T heatres T owne, LLC (1528); Frank T he atres York, LLC (7779); Frank
T heatres Mt. Airy, LLC (7429); Frank T heatres Southern Pines, LLC (2508); Frank T heatres Sanford, LLC (7475); Frank T heatres
Shallotte, LLC (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank Entertainment
Rock Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC (8570); Frank Hospitality
York LLC (6617); and Galleria Cinema, LLC (2529).

2
 Upon the Effective Date of the Modified Plan, the presently operating Reorganized Debtors are as follows: Frank Entertainment
Group, LLC; Frank Management, LLC; Frank T heatres York, LLC; Frank Hospitality York, LLC; Frank T heatres Delray, LLC;
Frank T heatres Parkside T own Commons, LLC; Frank Blacksburg, LLC; Frank T heatres Southern Pines, LLC; Frank T heatres,
LLC; and Frank Management, LLC.
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        T HIS MAT TER comes before the United States Bankruptcy Court for the District of New

Jersey (the “ Court”) upon the objection of Moss Adams LLP (the “ Administrative and Priority

Claims Agent”) to proof of claim no. 57 filed by Cotton Commercial USA, Inc. (“ Cotton,” and

together with the Administrative and Priority Claims Agent, the “ Parties”); and the Court having

jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334; and venue being proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and consideration of this matter being

a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that proper and adequate notice

of the dispute has been given and that no other or further notice is necessary; and upon the record

herein and the agreement of the Administrative and Priority Claims Agent and Cotton, the Court

having determined that the relief provided for herein is in the best interests of the Debtors, their

estates, and creditors; and after due deliberation and good and sufficient cause appearing therefor;3

        IT IS HEREBY ORDERED THAT:

        1.       Subject to the provisions of paragraphs #4 and #5 of this Stipulation and Consent

Order, proof of claim No. 57 filed by Cotton is hereby reclassified as a General Unsecured Claim

against the estate of Frank Management, LLC in the amount of $1,070,043.85 (the “Claim”),

subject to Cotton’s rights, if any, under paragraph #3 of this Stipulation and Consent Order.

        2.       As provided under Article (VI)(F)(1) of the Modified Plan, the Claim shall be

reduced in full, and the Claim shall be disallowed without an objection to such Claim having to be

filed and without any further notice to or action, order, or approval of the Court, to the extent that

Cotton receives payment in full of its Claim from a party that is not any of the Debtors,



3
 Unless otherwise defined, all capitalized terms shall have the meaning ascribed to them in the Modified First
Amended Plan of Reorganization of Frank Theatres Bayonne/South Cove, LLC, et al., Pursuant to Chapter 11 of the
Bankruptcy Code as confirmed by an Order of the Court entered on October 29, 2019 (the “Modified Plan”) [Docket
No. 783].
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Reorganized Debtors, Administrative and Priority Claims Agent, or the Liquidating T rust, as

applicable.4 T o the extent Cotton receives a Distribution on account of its Claim and receives

payment from a party that is not any of the Debtors, Reorganized Debtors, Administrative and

Priority Claims Agent, or the Liquidating T rust on account of such Claim, Cotton shall repay,

return, or deliver any Distribution held by or transferred to Cotton to the Liquidating T rust or

Administrative and Priority Claims Agent to the extent Cotton’s total recovery on account of such

Claim from the third party and under the Modified Plan exceeds the amount of such Claim as of

the date of any such Distribution under the Modified Plan.

         3.       Cotton expressly reserves all rights and claims as it relates to the $948,736.35 in

insurance proceeds that is the subject of ST ORE Capital Acquisitions, LLC’s Motion for Entry of

Order Directing Release of Non-Estate Property [Docket No. 889]. T his includes, without

limitation, those claims alleged and asserted by Cotton in that action pending in Brunswick

County, North Carolina Civil Superior Court, File No. 20-CVS-301, and all legal and equitable

remedies.

         4.       T he Liquidating T rustee and Liquidating T rust’s right to object to the validit y,

extent, and/or amount of the Claim are expressly preserved.

         5.       Cotton’s right to assert and/or defend the validity, extent, amount, or basis for the

Claim, including the assertion of claims or causes of action that may arise from any of the

Liquidating T rustee and Liquidating T rust’s objections to the validity, extent, and/or amount of

the Claim are expressly preserved.




4
 If there is any discrepancy between the terms of the Modified Plan and the terms of this paragraph of this Stipulation
and Consent Order, the terms of the Modified Plan shall govern.
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         6.     T he Administrative and Priority Claims Agent, the Debtors, the Debtors’ claims

and noticing agent, the Liquidating T rustee, and the Clerk of this Court are each authorized to take

any and all actions that are necessary or appropriate to give effect to this Stipulation and Consent

Order.

         7.     T he terms set forth in this Stipulation and Consent Order are the entire agreement

between the Parties and may only be modified in a writing signed by the Parties.

         8.     T HE PART IES EXPRESSLY WAIVE ANY RIGHT T O A T RIAL BY JURY OF

ANY DISPUT E ARISING UNDER, OR RELAT ING T O, THE SETTLEMENT SET FORTH IN

T HIS ST IPULAT ION AND CONSENT ORDER.

         9.     Each of the Parties hereto consents to the jurisdiction of the Court to adjudicate any

and all disputes arising under or relating to this Stipulation and Consent Order.

         10.    T he terms of this Stipulation and Consent Order shall be governed by, and

construed and interpreted with, the laws of the State of New Jersey without regard to any conflict

of law provisions.

         11.    T his Stipulation and Consent Order shall be binding upon the Parties hereto and

any of their successors, representatives, and/or assigns.

         12.    T his Stipulation and Consent Order may be executed in counterparts and all

executed counterparts taken together shall constitute one document.

         13.    T he Liquidating T rustee has reviewed the terms and form of this Stipulation and

Consent Order and does not object to the entry thereof.

         14.    T his Stipulation and Consent Order has been drafted through a joint effort of the

Parties and, therefore, shall not be construed in favor of or against any of the Parties. T he terms
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of this Stipulation and Consent Order shall be deemed to have been jointly negotiated and drafted

by the Parties.

        15.       Notwithstanding the applicability of any of the Federal Rules of Bankruptcy

Procedure, the terms and conditions of this Stipulation and Consent Order shall be immediately

effective and enforceable upon its entry.

        16.       T he Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation of this Stipulation and Consent Order.



Dated: April 14, 2020

STIPULATED AND AGREED:

 LOWENSTEIN SANDLER LLP                                WOMBLE BOND DICKINSON (US) LLP


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 Debtors-in-Possession
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 AS TO THE TERMS AND FORM
 OF STIPULATION AND CONSENT
 ORDER:

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  -and-

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